      Case 3:16-cv-02077-GAG-BJM Document 133 Filed 08/21/17 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


  IVETTE M. MARTÍNEZ GONZÁLEZ, et als.

             Plaintiffs                                 CIVIL NO. 16-2077 (GAG)
                    v.
                                                        CIVIL ACTION UNDER
  CATHOLIC SCHOOLS OF THE                               E.R.I.S.A.; PRELIMINARY AND
  ARCHDIOCESES OF SAN JUAN THE                          PERMANENT INJUNCTION;
  PROVISIONS OF PENSION PLAN, et als.                   TEMPORARY RESTRAINING
                                                        ORDER
             Defendants



              MOTION REQUESTING LEAVE TO WITHDRAW AS COUNSEL

TO THE HONORABLE COURT:

        COMES NOW Defendant, the Superintendence of the Catholic Schools of the Archdiocese

of San Juan (hereinafter “the Superintendence”), through counsel and respectfully STATES and

PRAYS as follows:

        1.         María Isabel Rey Cancio and Jaime Sanabria represent the appearing defendant in

the case at bar.

        2.         Attorney María Isabel Rey Cancio requests leave from the Court to withdraw as

counsel. Attorney Sanabria will continue representing Defendant in the case at bar.

        WHEREFORE, defendant respectfully requests that the Court take notice of the above

mentioned information and grant our request for leave to withdraw as counsel.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this 21st day of August 2017.

        WE HEREBY CERTIFY that on this same date we electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent all parties by
      Case 3:16-cv-02077-GAG-BJM Document 133 Filed 08/21/17 Page 2 of 2
                                                 2


operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

system.


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                                                     s/María Isabel Rey Cancio
                                                        USDC No. 213211
                                                        mrey@salawpr.com
